           Case 5:18-cr-00227-SLP Document 232-144 Filed 04/01/22 Page 1 of 31


DEPARTMENT OF THE INTERIOR                                         REPORT OF INVESTIGATION
U.S. FISH AND WILDLIFE SERVICE                                     REPORT#: 2016202712R051
OFFICE OF LAW ENFORCEMENT                                          APPROVED
Note: This document contains neither recommendations nor conclusions of the Office of Law
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CASE TITLE                                          REPORT DATE                    CASE NUMBER
                                                     12/18/2018                     2016202712
 GW EXOTICS
                                                    REPORTING OFFICER              CASE STATUS
                                                     Matthew Bryant - SA0753        FEDERAL
                                                                                   CRIMINAL
                                                                                   PROSECUTION
                                                                                   PENDING
                                                    APPROVED BY
                                                     Matthew Bryant, SA0753 - 12/18/2018
                                                     Thomas Karabanoff, SA0512 - 01/16/2019
                                                     Phillip Land, SA0602 - 01/30/2019
SUBJECTS OF REPORT
 JEFFREY LOWE
 JOE SCHREIBVOGAL - THE GAROLD WAYNE INTERACTIVE ZOOLOGICAL PARK


SYNOPSIS
This report documents the October 2018 recovery of evidence at the GREATER WYNNEWOOD
EXOTIC ANIMAL PARK, Wynnewood, Oklahoma. U.S. Fish and Wildlife Service/Office of
Law Enforcement Special Agents and Oklahoma Department of Wildlife Conservation Game
Wardens excavated the remains of five (5) adult tigers. The tigers were allegedly killed by Joe
MALDONADO using a .410 shotgun in October 2017. The skulls from each of the recovered
tiger carcasses were sent to the National Fish and Wildlife Forensics Labratory for analysis.


DISTRIBUTION
Internal List
  Matthew Bryant, SA0753
  Thomas Karabanoff, SA0512
  Phillip Land, SA0602
  Dan Coil, SA0595
  Matthew Rogers, SA0733




                                                                               MALD-PASS_015802
                                                                                 Exhibit 146
         Case 5:18-cr-00227-SLP Document 232-144 Filed 04/01/22 Page 2 of 31



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REPORT OF INVESTIGATION                                                                           INV #: 2016202712
Title: GW EXOTICS                                                                                 Report #: 051

DETAILS OF INVESTIGATION

Consent to Search at GREATER WYNNEWOOD EXOTIC ANIMAL PARK (GWEAP)
On October 24, 2018, U.S. Fish and Wildlife Service/Office of Law Enforcement
(USFWS/OLE) Special Agents (SA) met with Jeff LOWE at GWEAP to obtain a Consent to
Search to locate buried tiger carcasses. LOWE consented to allow law enforcement officers and
other federal employees to have access to GWEAP property and excavate the area to recover the
tiger carcasses (See attachment #1, Consent to Search). SA Bryant had previously discovered
Joseph MALDONADO killed five (5) tigers by shooting them in the head with a .410 shotgun in
October 2017 (See R036). Dylan West reportedly buried the five (5) tigers on the northeastern
corner of the property. West informed SA Bryant that the previous week he had used flagging to
mark the area he buried the tigers and that all the tigers would be laying side by side in the same
location.

Excavation of Tiger Carcasses
On October 25, 2018, at approximately 10:00 a.m., USFWS/OLE SAs Bryant, James Markley,
Patrick Biessel, USFWS/OLE Resident Agent in Charge (RAC) Tom Karabanoff, USFWS/OLE
Evidence Custodian (EC) Chris Long, Oklahoma Department of Wildlife Conservation Game
Wardens (GW) Wade Farrar, Tell Judkins, Jaylen Flynn, Zach Paulk and Kyle Troxell and Gary
Hall (both USFWS heavy equipment operators) from Tishomingo National Wildlife Refuge met
at GWEAP in Wynnewood, Oklahoma. Jeff and Lauren LOWE led the group back to the eastern
portion of the facility, known as the trash pit area, where West had identified the burial area.

SA Bryant introduced the group to one another and gave a safety briefing prior to any
excavations. GW Flynn began photographing the scene and took photos throughout the
investigation. EC Long prepared Evidence Collection Notes, sketches, and evidence logs (See
attachment #2, Evidence Recovery Documents and Photographs). The excavator was used to
slowly remove the top soil and investigators closely monitored the soil to ensure no evidence
was damaged or destroyed. After approximately two feet of soil was removed, an odor of
decaying flesh was noted and then a small patch of black and orange fur was observed.

The excavator was stopped and SA Bryant, SA Markley, GW Farrar, and GW Judkins began
slowly digging with hand tools and brushes. The patch of fur was a portion of the front leg of
what appeared to be a tiger. The four (4) agents worked methodically to locate the head of the
animal, which was then slowly excavated to ensure preservation of evidence. As the head was
excavated, an additional carcass was discovered lying beside the originally located carcass. The
first skull was removed from the excavation site using a plastic bag to ensure no evidence was

                                                              Page 2 of 6
                                                                                                                                Form 3-300B
                                                                                                                            (Rev. 01/25/2012)




                                                                                                                   MALD-PASS_015803
                                                                                                                      Exhibit 146
         Case 5:18-cr-00227-SLP Document 232-144 Filed 04/01/22 Page 3 of 31



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REPORT OF INVESTIGATION                                                                           INV #: 2016202712
Title: GW EXOTICS                                                                                 Report #: 051

lost. GW Judkins then took the skull to the evidence processing location to attempt to locate any
bullet hole, or damage to the skull. A hole was located in the right side of the skull, just above
the orbital, in what would be considered the forehead area.

This process was repeated until five (5) tiger skulls had been exhumed from the same area. GW
Judkins conducted a field analysis of each skull and reported the following:

1.        Skull #1 had what appeared to be an obvious gunshot wound just above the right eye in
          the forehead region.
2.        Skull #2 had what appeared to be a gunshot wound in what would have been the area of
          the left ear.
3.        Skull #3 had no obvious gunshot wounds, but did have trauma to the sagittal crest, which
          was broken off.
4.        Skull #4 had no obvious gunshot wound related trauma, the rear left side of the skull was
          broken into several pieces.
5.        Skull #5 had severe trauma to the entire backside of the skull, which was broken into
          pieces.

GW Judkins also noted the field analysis of the five (5) skulls indicated the teeth to be intact and
indicative of adequate health and average age.

Each skull was wrapped in the original bag they had been removed from the dig site with and
secured using USFWS Evidence Tape. The skulls were placed into heavy-duty plastic bags,
taped again, and cataloged with appropriate evidence tags. They were taken by EC Long to be
frozen and then sent to the National Fish and Wildlife Forensics Laboratory (NFWFL).

The remaining carcasses were reburied where they had been found. SA Bryant brought the
group back together to debrief, and collect any concerns or reports of injuries before leaving the
park at approximately 2:30 p.m.

Analysis of Evidence at the NFWFL

On October 30, 2018, the NFWFL received the five (5) tiger skulls. The skulls were examined
by Pathologist Tabitha Viner. Viner determined four (4) of the tigers were killed by gunshot and
the remaining tiger died as a result of trauma due to impact with a physical object, or possibly,
the concussive force of a fired projectile (See attachment #3, Pathology Report). Shotgun pellets
were discovered in all five tiger skulls and three skulls contained plastic fragments similar to
plastic shot cups or wading.

                                                              Page 3 of 6
                                                                                                                                Form 3-300B
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                                                                                                                      Exhibit 146
         Case 5:18-cr-00227-SLP Document 232-144 Filed 04/01/22 Page 4 of 31



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REPORT OF INVESTIGATION                                                                           INV #: 2016202712
Title: GW EXOTICS                                                                                 Report #: 051

On November 11, 2018, Kenton Wong, Senior Forensic Scientist at Forensic Analytical Crime
Lab, examined the shotgun pellets and the plastic fragments. Wong determined the plastic
fragments were from plastic shot cups (wading) consistent with caliber .410 gauge shot shell
ammunition. The pellets discovered in each of the five (5) tiger skulls were consistent with #4
shot and could have been fired from a .410 gauge shot shell (See attachment #4, Firearm
Examination Report).

DESCRIPTION OF SUBJECTS

The following subjects have been previously identified:

MALDONADO, Joseph Allen – see R004.

LOWE, Jeff – see R009.

PRIOR VIOLATIONS

None to document as no new subjects have been identified in this report.

WITNESSES

Special Agent Matt Bryant
U.S. Fish and Wildlife Service
Office of Law Enforcement
2700 Coltrane Place, Ste. 4
Edmond, Oklahoma 73034
(405) 715-0617

Resident Agent in Charge Tom Karabanoff
Special Agent James Markley
Special Agent Patrick Biessel
Evidence Custodian Chris Long
U.S. Fish and Wildlife Service
Office of Law Enforcement
501 West Felix Street, St. 1105
Fort Worth, Texas 76115
(817) 334-5202


                                                              Page 4 of 6
                                                                                                                                Form 3-300B
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                                                                                                                      Exhibit 146
         Case 5:18-cr-00227-SLP Document 232-144 Filed 04/01/22 Page 5 of 31



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REPORT OF INVESTIGATION                                                                           INV #: 2016202712
Title: GW EXOTICS                                                                                 Report #: 051

Captain Game Warden Wade Farrar
Game Warden Tell Judkins
Game Warden Jaylen Flynn
Game Warden Zach Paulk
Oklahoma Department of Wildlife Conservation
P.O. Box 53465
Oklahoma City, Oklahoma 73152
(405) 850-8701

Equipment Operator Kyle Troxell
Equipment Operator Gary Hall
Tishomingo National Wildlife Refuge
12000 S Refuge Road
Tishomingo, Oklahoma 73460
(580) 371-2402

Pathologist Tabitha Viner
U.S. Fish and Wildlife Service
Office of Law Enforcement
National Fish and Wildlife Forensics Laboratory
1490 East Main Street
Ashland, Oregon 97520
(541) 482-4191

Senior Forensic Scientist Kenton Wong
Forensic Analytical Crime Lab
3777 Deport Road, Ste. 403
Hayward, California 64545
(510) 266-8100

Dylan West
GWEAP – Trailer 3
Wynnewood, Oklahoma 73098
(405) 207-6229

LAWS VIOLATED

No new violations of law have been identified at this time.

                                                              Page 5 of 6
                                                                                                                                Form 3-300B
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                                                                                                                      Exhibit 146
         Case 5:18-cr-00227-SLP Document 232-144 Filed 04/01/22 Page 6 of 31



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REPORT OF INVESTIGATION                                                                           INV #: 2016202712
Title: GW EXOTICS                                                                                 Report #: 051

EVIDENCE

All evidence listed below is being held at the NFWFL in Ashland, Oregon, under ST # 738375:

1.        One (1) tiger skull – Item #1
2.        One (1) tiger skull – Item #2
3.        One (1) tiger skull – Item #3
4.        One (1) tiger skull – Item #4
5.        One (1) tiger skull – Item #5

Audio Recordings/Video Recordings/Photographs Created by Law Enforcement:

Photographs

1.        150 digital photographs documenting the excavation and recovery of evidence, retained
          at the USFWS/OLE, Edmond, Oklahoma.

Evidence Seized and Maintained by Another Agency:

No evidence was seized and/or maintained by another agency at this time.

ATTACHMENTS

1.        Copy of Consent to Search, signed by LOWE, dated 10/24/2018 (1 page).
2.        Copy of evidence collection documents and photographs prepared and taken by EC Long
          and GW Flynn, dated 10/25/2018 (15 pages).
3.        Copy of NFWFL Pathology Report, prepared by Viner, dated 11/01/2018 (7 pages).
4.        Copy of Forensic Analytical Crime Lab Firearms Report, prepared by Wong, dated
          11/14/2018 (2 pages).




                                                              Page 6 of 6
                                                                                                                                Form 3-300B
                                                                                                                            (Rev. 01/25/2012)




                                                                                                                   MALD-PASS_015807
                                                                                                                      Exhibit 146
               Case 5:18-cr-00227-SLP Document 232-144 Filed 04/01/22 Page 7 of 31

DEPARTMENT OF THE INTERIOR
U.S. FISH AND WILDLIFE SERVICE
DIVISION OF LAW ENFORCEMENT
                                                                                           CONSENT TO SEARCH
NAME

    *TIFF Coui6
LOCATION                                                                                     DATE

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CONSENT



          1,     •                                            the undersigned, having been informed of my

          constitutional right not to have a search made of the property, premises, or my person hereinafter

          mentioned without a search warrant and of my right to refuse to consent to such a search, hereby

          authorize  051 /14151 aDvJe. 4- Ater
           tAikel.tv- diverinovt e>-C USCLOS 5
          of the United States Fish and Wildlife Service, Department of the Interior, to conduct a complete

          search of Ba4tr--16:1        eile-KeATS-1-144kAvect; ov‘ 10**-0151)
          --r6 sme_tude.eyeava.-613                               te)MoVivi, eVaevr,e,                     .
          This written consent is being given by me to the above named Special Agent(s) voluntarily and with-

          out threats or promises of any kind.




                                                               (Signature)




 WITNESSES(S-        tu

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 3-342 (2/76)

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                                                                                               Exhibit 146
                  Case 5:18-cr-00227-SLP Document 232-144 Filed 04/01/22 Page 8 of 31


DEPARTMENT OF THE INTERIOR
U.S. FISH AND WILDLIFE SERVICE
DIVISION OF LAW ENFORCEMENT
                                                 LOCATED EVIDENCE LIST                                               1
                                                                                                      PAGE                                        OF
DATE OF COLLECTION: ARRIVAL TIME:                         DEPARTURE TIME:        DISTRICT:             CASE FILE NUMBER:
  10/25/2018                      1030                        1420                 NTX/OK                INV-
                                                                                                                                  2016202712
LIST BY:                               PHOTGRAPHY BY:                EVIDENCE COLLECTED BY:       WITNESS TO COLLECTION:
  EC LONG                                 EC LONG                      SA MATT BRYANT              SA PATRICK BEISSEL
BADGE NO.       2022                     BADGE NO.     2022          BADGE NO. 753                BADGE NO. 765
SEARCH TEAM NO.             LOCATION:                                SUBJECTS OF INVESTIGATION:




                                                                                                                                   PHOTOGRAPHED
                                                                                                                                                                    FOR




                                                                                                                    LOCATED BY:



                                                                                                                                                  COLLECTED
                                                                                                         EVIDENCE
           1                     25803 N County Rd 3250               Joe MALDONADO                                                                                 LAB

                                 Wynnewood,OK 73098                   GW EXOTIC                                                                                     USE:
  EVIDENCE          ID
                   TAG
   SEIZURE
                   ITEM
   TAG NO.          NO.            EVIDENCE ITEM DESCRIPTION                LOCATION OBSERVED                                                                       LABN
738375             1             one (1) tiger skull                 GW Exotic burn pit
                   2             one (1) tiger skull                 GW Exotic burn pit
                   3             one (1) tiger skull                 GW Exotic burn pit
                   4             one (1) tiger skull                 GW Exotic burn pit
                   5             one (1) tiger skull                 GW Exotic burn pit


                                                                                                                                                              4*,




                                                                                                                                          FORM 34069(2/112)
 G PO 658-332

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                                                                              MALD-PASS_015809
                                                                                                                                    Page: 1 of 15
                                                                                                      Exhibit 146
                     Case 5:18-cr-00227-SLP Document 232-144 Filed 04/01/22 Page 9 of 31


 DEPARTMENT OF TIIE INTERIOR
                                                 COP
                                                                                                                    FILE NO.
 U.S. FISH AND WILDLIFE SERVICE
 DIVISION OF LAW ENFORCEMENT                    CHAIN OF CUSTODY RECORD                                              INV.
                                                                                                                              2016202712
 DATE AND TIME OF SEIZURE:                               REGION           EVIDENCE/PROPERTY SEIZED BY:
 10/25/2018                                                 2                                    Matt Bryant #753
 SOURCE OF EVIDENCE/PROPERTY(person and/or location):                     CASE TITLE AND REMARKS
 MI   TAKEN FROM:
• RECEIVED FROM:                                                                               GW Exotic Tiger Dig
N FOUND AT:



                       Joe Maldonado, GW Exotic


 ITENI NO.            DESCRIPTION OF EVIDENCE/PROPERTY (include Seizure Tag Numbers and any serial numbers):

                      ST# 738375
        1             one (1) tiger skull
        2             one (1) tiger skull
        3             one (1) tiger skull
        4             one (1) tiger skull
        5             one (1) tiger skull




 ITEM NO.              FROM: (PRINT NAME,AGENCY)              RELEASE SIG,NATU                      RELEASE DATE        DELIVERED VIA:
                       Christopher Lona #2022
                       US FWS/OLE                                                                    10/27/2018
                                                                                                                       I U.S. MAIL
 1-5
                       TO:        (PRINT NAME, AGENCY)        RECEIPT S    NATURE                   RECEIPT DATE        1111 IN PERSON
                                                                                                                       3OTHER:
                       US FWS/Forensic Lab
                                                                                                                              FedEx
 ITEM NO.              FROM: (PRINT NAME,AGENCY)              RELEASE SIGNATURE                     RELEASE DATE        DELIVERED VIA:



                                                                                                                        III U.S. MAIL
                        TO:       (PRINT NAME,AGENCY)         RECEIPT SIGNATURE                      RECEIPT DATE       III   IN PERSON
                                                                                                                        III OTHER:



 ITEM NO.               FROM: (PRINT NAME,AGENCY)               RELEASE SIGNATURE                    RELEASE DATE       DELIVERED VIA:



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                                                                                                                                 FORM 3-2063(3/90)

12 ADDITIONAL TRANSFERS ON REVERSE SIDE                                                                                 Attachment: 2
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                                                                                                                        Page: 2 of 15
                                                                                                               Exhibit 146
               Case 5:18-cr-00227-SLP Document 232-144 Filed 04/01/22 Page 10 of 31



                                     CHAIN OF CUSTODY RECORD                     1.ILE NO.

                                            (continued)                              wv. 2016202712

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         Case 5:18-cr-00227-SLP Document 232-144 Filed 04/01/22 Page 11 of 31




                                  PHOTO LOG

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        Case 5:18-cr-00227-SLP Document 232-144 Filed 04/01/22 Page 12 of 31
                  The Greater Wynnewood Exotic Animal Park – Wynnewood, OK




                                                                 See Enlarged Image Below




North                                                                Red Box designates the roped
                                                                     off area in question.

                                                                     RedAttachment:   2
                                                                         X depicts location of
                                         MALD-PASS_015813            carcasses.
                                                                         Page: 5 of 15
                                                                             Exhibit 146
                                            Case 5:18-cr-00227-SLP Document 232-144 Filed 04/01/22 Page 13 of 31




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                                                                                                         Exhibit 146
Case 5:18-cr-00227-SLP Document 232-144 Filed 04/01/22 Page 14 of 31




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                                                                   Attachment: 2
                                                                   Page: 7 of 15
                                           MALD-PASS_015815
                                                             Exhibit 146
Case 5:18-cr-00227-SLP Document 232-144 Filed 04/01/22 Page 15 of 31




                                                                   Attachment: 2
                                             MALD-PASS_015816      Page: 8 of 15
                                                           Exhibit 146
Case 5:18-cr-00227-SLP Document 232-144 Filed 04/01/22 Page 16 of 31




                                                                   Attachment: 2
                                                                   Page: 9 of 15
                                          MALD-PASS_015817
                                                           Exhibit 146
Case 5:18-cr-00227-SLP Document 232-144 Filed 04/01/22 Page 17 of 31




                                                                   Attachment: 2
                                     MALD-PASS_015818             Page: 10 of 15
                                                           Exhibit 146
    Case 5:18-cr-00227-SLP Document 232-144 Filed 04/01/22 Page 18 of 31

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                                                                       Attachment: 2
                                                                       Page: 11 of 15
                                                 MALD-PASS_015819
                                                               Exhibit 146
Case 5:18-cr-00227-SLP Document 232-144 Filed 04/01/22 Page 19 of 31




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                                     MALD-PASS_015820              Page: 12 of 15
                                                           Exhibit 146
Case 5:18-cr-00227-SLP Document 232-144 Filed 04/01/22 Page 20 of 31




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Case 5:18-cr-00227-SLP Document 232-144 Filed 04/01/22 Page 21 of 31




                                                                       Attachment: 2
                                                       ,40111*




                                          MALD-PASS_015822             Page: 14 of 15
                                                                 Exhibit 146
Case 5:18-cr-00227-SLP Document 232-144 Filed 04/01/22 Page 22 of 31




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                                             MALD-PASS_015823     Page: 15 of 15
                                                           Exhibit 146
            Case 5:18-cr-00227-SLP Document 232-144 Filed 04/01/22 Page 23 of 31


                          United States Department of the Interior
                                   FISH AND WILDLIFE SERVICE
                                         Office of Law Enforcement
                                               Clark R. Bavin
                               National Fish and Wildlife Forensics Laboratory
 IN REPLY REFER TO:                       1490 East Main Street
                                           Ashland, Oregon 97520
                                                                                        November 01, 2018


                          VETERINARY PATHOLOGY EXAMINATION
                                    FINAL REPORT
 ___________________________________________________________________________________________
 Lab Case #:      18-0304                        Submitting Agency:
 Agency Case #: 2016202712                       USFWS/LE, Edmond
 Pathologist: Tabitha C. Viner                   2700 Coltrane Place, Ste. 4
 Case Title: GW Exotic Tiger Dig                 Edmond, OK 73034
                                                 Investigator: Matthew Bryant
                                                 Subject(s):     Joe Maldonado
 __________________________________________________________________________________________
EVIDENCE RECEIVED
The following evidence was received in the Evidence Unit of the Laboratory on October 30, 2018, and was
transferred to the undersigned examiner on October 31, 2018:

LAB-1: "One (1) tiger skull" [ST#738375; Item#1]
LAB-2: "One (1) tiger skull" [ST#738375; Item#2]
LAB-3: "One (1) tiger skull" [ST#738375; Item#3]
LAB-4: "One (1) tiger skull" [ST#738375; Item#4]
LAB-5: "One (1) tiger skull" [ST#738375; Item#5]

HISTORY
None.

EXAMINATIONS CONDUCTED
LAB-1, LAB-2, LAB-3, LAB-4, and LAB-5: The carcasses were radiographed (x-rayed), dissected, and
examined visually (necropsy examination) for gross pathological lesions. Photographs were taken to document
any significant gross pathological findings.
LAB-1 was itemized and the following sub-items were generated:
    LAB-1A Teeth from LAB-1
    LAB-1B Metal pieces from LAB-1
LAB-2 was itemized and the following sub-items were generated:
    LAB-2A Teeth from LAB-2
    LAB-2B Metal particles from LAB-2
LAB-3 was itemized and the following sub-items were generated:
    LAB-3A Teeth from LAB-3
    LAB-3B Metal particles from LAB-2
LAB-4 was itemized and the following sub-items were generated:
    LAB-4A Teeth from LAB-4


Pathologist Initials: _                                                            Page 1 of 7     Attachment: 3

                                                              MALD-PASS_015824                     Page: 1 of 7
                                                                                         Exhibit 146
          Case 5:18-cr-00227-SLP Document 232-144 Filed 04/01/22 Page 24 of 31
Veterinary Pathology Examination Final Report, Lab Case #18-0304 - Continued
1 November 2018

    LAB-4B Metal pellets from LAB-4
LAB-5 was itemized and the following sub-items were generated:
    LAB-5A Teeth from LAB-5
    LAB-5B Metal particles and plastic fragment from LAB-5
    LAB-5C Plastic fragment from LAB-5

LAB-1A, LAB-2A, LAB-3A, LAB-4A, and LAB-5A were assigned to Dyan J. Straughan, Forensic Scientist –
Genetics, for analysis. (Report to follow)

LAB-1B, LAB-2B, LAB-3B, LAB-4B, LAB-5B, and LAB-5C were transferred to Forensic Analytical Crime Lab
for analysis. (Report to follow)

CASE SUMMARY
In my opinion, the findings of the post-mortem exam of four of these tigers are most consistent with shotgun
injury as the immediate cause of death (LAB-1, LAB-2, LAB-4, and LAB-5). In these animals, shotgun pellets
were associated with fractures, fragmentation, and/or perforation of the skull. Metal pellets and skull fractures
were also present in LAB-3, but no perforating injury was noted. These fractures were more consistent with blunt
trauma.

Skull suture seals were indicative of adult animals. Tooth wear was limited to the incisors in all animals but LAB-
1. This, combined with minimal to moderate tartar buildup on the teeth, suggest early- to middle-adult animals.
No bony indicators of dental disease were present.

All the skulls were markedly autolyzed. A time since death cannot be accurately given as many variables work in
the decomposition process and the entire carcass was not available for examination. I suspect, however, that at
least several months had elapsed between death and exhumation.

EVIDENCE DETAILS -- LAB-1
Common name:        Tiger (pending genetic verification) Weight:                        n/a
Scientific name:    Panthera tigris                      Carcass composition:           Head
Sex:                Undetermined                         Nutritional condition:         Indeterminate
Lifestage:          Adult                                Tissue preservation:           Advanced decomposition
Necropsy Date:      31 October 2018

POST-MORTEM FINDINGS
RADIOGRAPHIC EXAMINATION: There are at least 44 irregular metal densities, largely concentrated in a
band from the dorsal aspect of the frontal sinus to the level of the mandibular ramus, all to the right of midline.
Fewer metal particles are present in the brain case and in the nasal turbinates. A circular defect is present on the
dorsal aspect of the skull within the tract of metal particles.

EXTERNAL EXAMINATION: Present are the skull, mandibles, and first cervical vertebra. Dirt and sandy debris
covers the skull and some orange and black hair remains on the item. Some tissues remain firmly attached to the
bone; most soft tissue over the skull is pasty.

EVIDENCE OF INJURY: On the dorsal aspect of the skull just dorsal to the right bony orbit and centered 1.5 cm
from dorsal midline is a 16 mm diameter, round perforation through the skull. Beveling is on the internal surface
of the perforation. On the medial aspect of the right bony orbit is a 6 cm diameter defect of the bone that exposes
the nasal turbinates. The bone is fragmented into many pieces.


Pathologist Initials:     _                                                               Page 2 of 7     Attachment: 3
                                                                                                          Page: 2 of 7
                                                                  MALD-PASS_015825
                                                                                                Exhibit 146
          Case 5:18-cr-00227-SLP Document 232-144 Filed 04/01/22 Page 25 of 31
Veterinary Pathology Examination Final Report, Lab Case #18-0304 - Continued
1 November 2018


The soft tissues are associated with many irregularly round, dark gray pellets and a frayed, cylindrical, 10 mm
diameter piece of hard plastic. The sutures of the left maxilla adjoining the nasal bones and frontal bones is
partially separated.

INTERNAL EXAMINATION: The suture between the maxillary and incisive bones just rostral to the left upper
canine tooth is separated. There is a fracture of the palatal aspect of the maxillary bone extending 2.5 cm caudally
from the left canine tooth. The left canine tooth is displaced ventrally by approximately 10 mm. The tooth is
stable within its socket. The lower right premolar is fractured. There is wear of the incisor teeth. There is a slab
fracture of the left second lower premolar. The incisors are relatively easy to remove from the sockets.

SUMMARY OF POST-MORTEM FINDINGS
Perforating wound in dorsal skull
Skull fractures with intralesional metal pellets and plastic material
Dorsal to ventral wound tract
Post-mortem decomposition

IMMEDIATE CAUSE OF DEATH
GUNSHOT-SHOTGUN

CONCLUSIONS
In my opinion, this tiger received a gunshot to the skull. The well-demarcated entry area on the dorsal-right aspect
of the skull is consistent with a near-point-blank range of fire. Injury in this area of the body would have been
immediately fatal.

EVIDENCE DETAILS -- LAB-2
Common name:        Tiger (pending genetic verification) Weight:                         n/a
Scientific name:    Panthera tigris                      Carcass composition:            Head
Sex:                Undetermined                         Nutritional condition:          Indeterminate
Lifestage:          Adult                                Tissue preservation:            Advanced decomposition
Necropsy Date:      31 October 2018

POST-MORTEM FINDINGS
RADIOGRAPHIC EXAMINATION: There are at least 31 irregular, metal density objects in the skull forming a
tract from the area of the left temporomandibular joint towards the right canines. Few metal density objects are
present in the frontal sinus and nasal cavity. An additional 24, similar metal density objects are present in the
debris, sloughed soft tissues, and substrate in the bag. There is a fracture of the sagittal crest at the level of the
bullae and an additional fracture of the skull near the zygomatic process of the frontal bone.

EXTERNAL EXAMINATION: The item consists of the skull and attached mandible. The mandible is easily
disarticulated from the skull. Small amounts of hair and pasty soft tissues remain attached to the skull. Sandy,
brown substrate is attached to the skull diffusely. The lower incisors and canines are covered in sandy, black
substrate.

EVIDENCE OF INJURY: On the left lateral aspect of the calvarium is an 8 x 3.5 cm defect in the skull. The
dorsal aspect of the large skull cavitation is scalloped with punctures at the edge of the bone exhibiting internal
beveling. A fracture line extends across the sagittal crest to the caudal attachment of the right zygomatic arch.
Another longitudinal fracture crosses the aforementioned fracture and extends towards the dorsal aspect of the


Pathologist Initials:     _                                                                Page 3 of 7    Attachment: 3
                                                                  MALD-PASS_015826                        Page: 3 of 7
                                                                                                Exhibit 146
          Case 5:18-cr-00227-SLP Document 232-144 Filed 04/01/22 Page 26 of 31
Veterinary Pathology Examination Final Report, Lab Case #18-0304 - Continued
1 November 2018

right bony orbit. The calvarium at the caudal aspect of the left bony orbit is fragmented and there is a
communication between left and right orbits at the level of the zygomatic process of the frontal bone. In the
ventromedial aspect of the right bony orbit is a 3 x 1 cm defect in the skull. A probe can be passed from the defect
on the left side of the calvarium to an area subjacent to the hole in the right bony orbit. There is an incomplete
fracture at the base of the skull just rostral to the caudal attachment of the zygomatic arch.

Metal pellets are retrieved from the rinsed material and from bone fragments.

INTERNAL EXAMINATION: The mandibular symphysis is intact, but loose. There is incisor wear and minimal
tartar. Incisors are easily removed from the maxilla.

SUMMARY OF POST-MORTEM FINDINGS
Fracture through the left side of the brain case
Metal pellets within wound tract
Caudal entry of wound tract
Post-mortem decomposition

IMMEDIATE CAUSE OF DEATH
GUNSHOT-SHOTGUN

CONCLUSIONS
I believe that this tiger was shot in the head with a shotgun. Patterns on the skull indicate that the projectiles
entered at the back-left side of the head. Injury in this area would have been immediately fatal.

EVIDENCE DETAILS -- LAB-3
Common name:        Tiger (pending genetic verification) Weight:                         n/a
Scientific name:    Panthera tigris                      Carcass composition:            Head
Sex:                Undetermined                         Nutritional condition:          Indeterminate
Lifestage:          Adult                                Tissue preservation:            Advanced decomposition
Necropsy Date:      31 October 2018

POST-MORTEM FINDINGS
RADIOGRAPHIC EXAMINATION: Four 4 mm diameter metal spheres are associated with the left side of the
skull. On the side of the skull with more soft tissue density material (right) is a 5 mm diameter sphere.

EXTERNAL EXAMINATION: The item consists of an intact skull with attached mandibles. Small amounts of
orange hair and pasty soft tissues remain attached to the skull. Pasty tissue is largely concentrated on the right side
of the skull. The right temporomandibular joint remains attached through soft tissues. Muscles remain firmly
attached to the right side of the skull and sagittal crest.

EVIDENCE OF INJURY: Three metal pellets are retrieved from the pasty soft tissues loosely associated with the
back-right of the skull. There is a 3.5 cm long tear through the temporal muscle parallel to and 3.5 cm from the
nuchal crest and centered 4.5 cm to the right of dorsal midline. At the center of the laceration is a skull fracture
that extends from the back of the left bony orbit, across the sagittal crest to the attachment of the right zygomatic
arch. A 2.5 x 2 cm area of the left nasal bone is discolored red.

INTERNAL EXAMINATION: There is incisor wear and moderate dental calculi. Incisors are easily removed
from the skull.


Pathologist Initials:     _                                                                Page 4 of 7    Attachment: 3
                                                              MALD-PASS_015827                            Page: 4 of 7
                                                                                                 Exhibit 146
          Case 5:18-cr-00227-SLP Document 232-144 Filed 04/01/22 Page 27 of 31
Veterinary Pathology Examination Final Report, Lab Case #18-0304 - Continued
1 November 2018

SUMMARY OF POST-MORTEM FINDINGS
Metal pellets in soft tissues around skull
Fractured skull
Post-mortem decomposition

IMMEDIATE CAUSE OF DEATH
TRAUMA-BLUNT FORCE SUSPECT

CONCLUSIONS
While shot pellets were present in the soft tissues and substrate around the skull, there were no perforating or
penetrating wounds into the skull. Post-mortem decomposition prevented evaluation for the presence of soft tissue
damage associated with the shot pellets. A fracture across the top of the brain case was consistent with blunt force
injury. This type of trauma may occur due to impact with a physical object or, possibly, the concussive force of a
fired projectile.

EVIDENCE DETAILS -- LAB-4
Common name:        Tiger (pending genetic verification) Weight:                        n/a
Scientific name:    Panthera tigris                      Carcass composition:           Head
Sex:                Undetermined                         Nutritional condition:         Indeterminate
Lifestage:          Adult                                Tissue preservation:           Advanced decomposition
Necropsy Date:      31 October 2018

POST-MORTEM FINDINGS
RADIOGRAPHIC EXAMINATION: There is a large defect at the back of the skull. Greater than 29 irregular,
metal density particles that are approximately 4 mm in diameter are arrayed across the caudoventral aspect of the
skull on the left side.

EXTERNAL EXAMINATION: The item consists of a skull with attached mandibles and first cervical vertebra
(atlas). Orange and black hair remains attached in a recognizable striped pattern on the right side of the skull. Soft
tissues are generally pasty. The item is covered in sandy substrate. The atlas and fragmented portions of the skull
remain attached to the skull via soft tissues.

EVIDENCE OF INJURY: Brain material is mixed with other soft tissues at the back and ventral portion of the
head. Almost the entire left side of the cranial vault has been fragmented. The right occipital condyle is absent or
unrecognizable. A large fragment of bone encompasses the left occipital condyle, the caudodorsal point of the
sagittal crest, and the attached left bulla. Another large fragment comprises most of the left temporal bone.
Apposition of the large sagittal crest fragment, the temporal fragment, and the remainder of the skull reveals a 2 x
1.5 cm perforation through the skull. The greater skull cavitation extends across dorsal midline to involve the
right occipital bone. A fracture extends from the rightmost extension of the defect to the caudal aspect of the bony
orbit. When larger fragments of bone are apposed, a 1.5 cm diameter hole in the skull is revealed dorsal to the
caudal attachment of the left zygomatic arch. At least one metal pellet is embedded in the bone at this defect, and
in fragments on the floor of the cranial vault. Near the perforations the skull is fragmented from the zygomatic
arch and a fracture extends along the floor of the skull towards the right eye. The left wing of the atlas has been
fractured off.

INTERNAL EXAMINATION: The mandibular symphysis is attached but loose. There is wear of the incisors and
mild tartar.



Pathologist Initials:     _                                                              Page 5 of 7     Attachment: 3
                                                               MALD-PASS_015828                          Page: 5 of 7
                                                                                               Exhibit 146
          Case 5:18-cr-00227-SLP Document 232-144 Filed 04/01/22 Page 28 of 31
Veterinary Pathology Examination Final Report, Lab Case #18-0304 - Continued
1 November 2018

SUMMARY OF POST-MORTEM FINDINGS
Wound tract across the back of the cranium with intralesional metal pellets
Fragmented and fractured skull with embedded metal pellets
Wound tract is roughly side to side
Post-mortem decomposition

IMMEDIATE CAUSE OF DEATH
GUNSHOT-SHOTGUN

CONCLUSIONS
I believe that this tiger was shot in the head with a shotgun. Metal pellets were embedded in the skull fragments,
as well as in the soft tissues and substrate within and around the skull. This type of injury would have been
immediately fatal.

EVIDENCE DETAILS -- LAB-5
Common name:        Tiger (pending genetic verification) Weight:                       n/a
Scientific name:    Panthera tigris                      Carcass composition:          Head
Sex:                Undetermined                         Nutritional condition:        Indeterminate
Lifestage:          Adult                                Tissue preservation:          Advanced decomposition
Necropsy Date:      01 November 2018

POST-MORTEM FINDINGS
RADIOGRAPHIC EXAMINATION: Present are the separated front and back of the skull. The mandible remains
attached to the bulk of the skull. Bone is disrupted along the dorsal aspect. The bullae and temporomandibular
joints are absent from the rostral portion of the skull. Scattered through the main portion of the skull are greater
than 43 irregularly round, approximately 4 mm diameter, metal particulates. In a separate section of the back of
the skull with cervical vertebrae are an additional 12 metal particulates. Metal particulates are largely arrayed
through the center of the skull with slightly more on the right side.

EXTERNAL EXAMINATION: The item consists of a skull fragmented into the rostrum attached to fragments of
the frontal and parietal bones, and an attached mandible. Fragments of the back of the skull fall from the rest of
the skull on manipulation. Abundant sandy substrate is present around and within the skull. Most soft tissues over
the skull are pasty; some clumps of soft tissues remain attached to the bone via tendons/ligaments. Striped, orange
and black hair is present over the skull multifocally.

EVIDENCE OF INJURY: Isolated from the tissues and debris around the skull is a formerly cylindrical, splayed
piece of opaque plastic. Fifteen irregular, metal spheres are retrieved from the bones and soft tissues. Some pellets
are embedded in the bone fragments on the internal surface at the back of the skull.

Pasty brain material is present over the back of the head and within the cranial vault. The skull has been
fragmented into at least 14 distinct fragments. The largest portion of the skull involves the right maxilla and
rostral portion of the cranial vault with the attached left frontal bone and zygomatic arch. The left maxilla is
separate. The entire nasal cavity with turbinates is exposed in the right maxillary fragment. The nasal bone has
been fractured from the rest of the skull. At the back of the right bony orbit is a crescent shaped defect that is 5
mm wide at its greatest extents and 1.5 cm long. The most highly fragmented area of the skull is on the right side
of the calvarium. Apposing bones over the back and left side of the skull does not reveal a discrete hole, though
not all bone fragments are detected.



Pathologist Initials:    _                                                               Page 6 of 7      Attachment: 3
                                                            MALD-PASS_015829                              Page: 6 of 7
                                                                                              Exhibit 146
          Case 5:18-cr-00227-SLP Document 232-144 Filed 04/01/22 Page 29 of 31
Veterinary Pathology Examination Final Report, Lab Case #18-0304 - Continued
1 November 2018

INTERNAL EXAMINATION: The mandibular symphysis is loose but remains attached. The incisors are easily
removed from the alveoli. There is minimal incisor wear and tartar.

SUMMARY OF POST-MORTEM FINDINGS
Fragmented skull with intralesional metal pellets
Post-mortem decomposition

IMMEDIATE CAUSE OF DEATH
GUNSHOT-SHOTGUN

CONCLUSIONS
I believe that this tiger was shot in the head with a shotgun. The presence of an object consistent with a plastic
shotgun wad suggests that the shot was at close range. Fragmentation of the skull made determination of the exact
entry point difficult.

DISPOSITION OF EVIDENCE:
All evidence item(s) were transferred to the Evidence Unit pending return to the submitting agency.




                                                          ________________________________________
                                                          Tabitha C. Viner, DVM DACVP
                                                          Veterinary Pathologist




Pathologist Initials:    _                                                            Page 7 of 7       Attachment: 3
                                                             MALD-PASS_015830                           Page: 7 of 7
                                                                                            Exhibit 146
Case 5:18-cr-00227-SLP Document 232-144 Filed 04/01/22 Page 30 of 31




                                                                   Attachment: 4
                                     MALD-PASS_015831              Page: 1 of 2
                                                           Exhibit 146
Case 5:18-cr-00227-SLP Document 232-144 Filed 04/01/22 Page 31 of 31




                                                                       Attachment: 4
                                    MALD-PASS_015832                   Page: 2 of 2
                                                           Exhibit 146
